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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                       Plaintiff,                                      4:13-MJ-3098
       vs.
                                                                  DETENTION ORDER
CHARLES J. BAASCH,
                       Defendant.


        After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), the
court concludes the defendant must be detained pending a preliminary hearing.

        There is a rebuttable presumption that no condition or combination of conditions of release
will reasonably assure the defendant’s appearance at court proceedings and the safety of the
community because there is probable cause to believe the defendant committed a drug crime under
the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to
serve ten or more years in prison. The defendant has not rebutted this presumption.


         Specifically, the court finds that the defendant has a lengthy criminal record which indicates
a propensity to violate the law and orders of the court; has a substance abuse addiction or abuses
mood-altering chemicals and is likely to continue such conduct and violate the law if released; has
failed to appear for court proceedings in the past; and no conditions or combination of conditions are
currently available which will sufficiently ameliorate the risks posed if the defendant is released.


                                    Directions Regarding Detention

         The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the corrections
facility must deliver the defendant to the United States marshal for a court appearance.

       Dated this 18th day of September, 2013.

                                                       BY THE COURT:
                                                       s/ John M. Gerrard
                                                       United States District Judge
